        Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 1 of 31




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF IOWA
                            CENTRAL DIVISION

  ROBERT VANDYKE,                          CASE NO. 4:21-cv-00160
           Plaintiff,

  vs.

  JEREMY McDOWELL,
  individually and in his capacity as
  an officer of the Wapello County
  Sheriff’s Office; JOHN DOE 1,
  individually and in their capacity
  as an officer of the Wapello County
  Sheriff’s Office; JOHN DOE 2,
  individually and in their capacity
  as an officer of the Wapello County      COMPLAINT and JURY
  Sheriff’s Office; DON PHILLIPS,          DEMAND
  individually and in his capacity as
  Wapello County Sheriff; WAPELLO
  COUNTY, IOWA; DEREK SHAW,
  individually and in his capacity as
  an officer of the Ottumwa Police
  Department; JOHN DOE 3,
  individually and in their capacity
  as an officer of the Ottumwa
  Police Department; CHAD
  FARRINGTON, individually and in
  his capacity as Chief of Police of
  the Ottumwa Police Department;
  CITY OF OTTUMWA, IOWA;
              Defendants.



        COMES NOW the Plaintiff Robert VanDyke and for his causes of action

states:

                                   PARTIES

        1.    Robert VanDyke is a United States citizen and was a resident of

Ottumwa, Wapello County, Iowa at the relevant times complained of herein.
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 2 of 31




      2.     Jeremy McDowell is believed to be a citizen and resident of Iowa and

was employed as a law enforcement officer for the Wapello County Sheriff’s Office at

the relevant times complained of herein.

      3.     John Doe 1 is believed to be a citizen and resident of Iowa and was

employed as a law enforcement officer for the Wapello County Sheriff’s Office at the

relevant times complained of herein.

      4.     John Doe 2 is believed to be a citizen and resident of Iowa and was

employed as a law enforcement officer for the Wapello County Sheriff’s Office at the

relevant times complained of herein.

      5.     Don Phillips is believed to be a citizen and resident of Iowa and was

employed as Sheriff for Wapello County at the relevant times complained of herein.

      6.     Wapello County, Iowa is a county corporation existing under the laws of

the State of Iowa and operates the Wapello County Sheriff’s Office.

      7.     Derek Shaw is believed to be a citizen and resident of Iowa and was

employed as a law enforcement officer for the Ottumwa Police Department at the

relevant times complained of herein.

      8.     John Doe 3 is believed to be a citizen and resident of Iowa and was

employed as a law enforcement officer for the Ottumwa Police Department at the

relevant times complained of herein.

      9.     Chad Farrington is believed to be a citizen and resident of Iowa and was

employed as Chief of Police for the Ottumwa Police Department at the relevant times

complained of herein.



                                           2
      Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 3 of 31




      10.    The City of Ottumwa, Iowa is located at 105 E. Third Street, Ottumwa,

Wapello County, Iowa, is a municipal corporation organized and authorized to

operate under the laws of Iowa and is responsible for maintaining and operating the

Ottumwa Police Department.

                          JURISDICTION AND VENUE

      11.    Jurisdiction is invoked under 28 U.S.C. §§ 1331 and 1343(a)(3).

      12.    Supplemental jurisdiction to hear and decide pendent claims arising out

of State law is invoked under 28 U.S.C. §1367.

      13.    All events and actions referenced herein occurred in the Southern

District of Iowa, therefore venue is proper under 28 U.S.C §1391(b)(1) - (2).

                               FACTUAL BACKGROUND

      14.    On June 12, 2019, at approximately 2:30 a.m., Robert was at his private

residence.

      15.    Robert’s residence is on one acre of property approximately two miles

out of Ottumwa proper.

      16.    Sometime earlier that night, law enforcement had responded to his

residence concerning a noise complaint related to the use of an ATV by Robert’s son

and son’s friends.

      17.    At the time law enforcement first came to his residence, Robert was not

present, as he was out at a social event.

      18.    Robert returned to his residence at approximately 1:00 a.m.

      19.    Upon returning to his residence, Robert learned of the incident with the

ATV, including it being damaged.
                                            3
      Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 4 of 31




      20.    Robert and his significant other engaged in a verbal argument.

      21.    Despite the argument being purely verbal, Robert’s son called 911.

      22.    Law enforcement returned to Robert’s residence en masse, with upwards

of fifteen cars responding.




      23.    Officers from both the Wapello County Sheriff’s Office and the Ottumwa

Police Department responded to the scene.

      24.    When law enforcement arrived, Robert was sleeping in his private

driveway.

      25.    Robert was intoxicated.

      26.    Robert was clothed in a pair of shorts, without a shirt or shoes.

      27.    Robert’s son was next to Robert when officers arrived.



                                          4
        Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 5 of 31




        28.     Despite Robert being visibly unarmed, officers of the Wapello County

Sheriff’s Office and Ottumwa Police Department immediately drew guns and tazers

and pointed them at Robert.

        29.     Based on information and belief, Deputy Jeremey McDowell, Officer

Derek Shaw, and John Doe 1 and 3 continued to point their guns at Robert after he

was compliant and determined to not be armed.

        30.     Robert and his son were directed at gun point to step off his private

property into the public street.

        31.     Robert was arrested by Deputy McDowell and Officer Shaw.

        32.     Robert is disabled due to injuries to his left arm and knees.

        33.     The fact of Robert’s disability was known to Deputy McDowell, Officer

Shaw, and other responding officers.

        34.     Due to the disability of his left arm, Robert is unable to move his arm

behind his back easily or comfortably.

        35.     Due to the disability of his left arm, during prior arrests by the Wapello

County Sheriff’s Office and Ottumwa Police Department, Robert had been handcuffed

in the front.

        36.     Rather than handcuffing an unarmed and compliant Robert in the front,

Deputy McDowell and Officer Shaw yanked and twisted Robert’s left arm behind his

back.

        37.     Deputy McDowell and Officer Shaw utilized unreasonable force in

handcuffing Robert’s arms behind his back.



                                             5
      Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 6 of 31




      38.    Deputy McDowell had previously been found by the Ombudsman of the

State of Iowa to have, on or about May 20, 2007, engaged in the use of excessive force

against a restrained individual.

      39.    Robert was taken to the Wapello County Jail.

      40.    During the booking process, John Doe 2 told Robert, who was still

handcuffed, to take off his belt and boots.

      41.    Robert told John Doe 2 to remove those items himself.

      42.    John Doe 2 immediately shoved Robert, who was still handcuffed, into

a concrete half-wall in the booking area.

      43.    The impact with which John Doe shoved Robert into the half-wall

caused Robert to suffer a closed compression fracture of thoracic vertebra, a closed

fracture of a rib on his left side, and contusion of his right knee.

      44.    On June 12, 2019, Deputy McDowell filed a criminal complaint, signed

under oath, stating Robert had used or consumed alcoholic liquor, wine or beer upon

a public street or highway, or in a public place.

      45.    Robert had not consumed alcohol of any kind in public.

      46.    There was no evidence or information from which a reasonable officer

could suspect Robert of consuming alcohol in public.

      47.    On November 20, 2019, the State of Iowa, through the Wapello County

Attorney, filed a Motion to Amend which acknowledged Deputy McDowell had

initiated the criminal prosecution against Robert.




                                              6
      Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 7 of 31




         48.   In the Motion to Amend, the State of Iowa, through the Wapello County

Attorney, also acknowledged the charge brought against Robert was improper and

not supported by any evidence.

         49.   In the Motion to Amend, the State of Iowa sought to amend the criminal

charge to public intoxication, based on the factual representations of Deputy

McDowell.

         50.   In the sworn criminal complaint, Deputy McDowell asserted Robert had

been found intoxicated in the roadway.

         51.   Deputy McDowell made this statement under oath despite knowing

Robert had been found in his private driveway, not in a public roadway.

         52.   Based on Deputy McDowell’s representations, the Motion to Amend was

granted on November 21, 2019.

         53.   Despite being directed to file an additional complaint to clarify the

charges against Robert, Deputy McDowell failed to do so for approximately 17

months.

         54.   On April 19, 2021, the State of Iowa filed a Motion to Dismiss the

criminal charge against Robert, in the interest of justice, with costs assessed to the

State.

         55.   On April 21, 2021, the Motion to Dismiss was granted.

                                CAUSES OF ACTION

                                      Count I
              CIVIL RIGHTS VIOLATION PURSUANT TO 42 U.S.C. § 1983
   VIOLATION OF FOURTH AND/OR FOURTEENTH AMENDMENT TO THE UNITED STATES
                                    CONSTITUTION
                Right to be Free from Arrest without Probable Cause
                                           7
      Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 8 of 31




                   (Against Jeremy McDowell and Derek Shaw, individually)

      56.     Plaintiff repleads each preceding paragraph as if fully set forth herein.

      57.     Jeremy McDowell and Derek Shaw are persons for purposes of a Section

1983 action for damages.

      58.     At all times material hereto, Deputy McDowell’s actions and/or

omissions were made under the color of authority and law as an officer of the Wapello

County Sheriff’s Department.

      59.     At all times material hereto, Officer Shaw’s actions and/or omissions

were made under the color of authority and law as an officer of the Ottumwa Police

Department.

      60.     On Jun 12, 2019, Deputy McDowell and Officer Shaw violated Robert’s

clearly established constitutional rights by arresting Robert without probable cause

to believe a criminal offense had been committed.

      61.     Based upon the facts known to Deputy McDowell and Officer Shaw, no

reasonable officer could believe probable cause existed to arrest Robert.

      62.     There was no warrant for Robert’s arrest.

      63.     Deputy McDowell and Officer Shaw violated Robert’s Fourth and/or

Fourteenth Amendment Right under the United States Constitution to be free from

unlawful arrest.

      64.     Deputy McDowell and Officer Shaw demonstrated a deliberate

indifference to and a reckless disregard of Robert’s constitutional rights in his

unlawful arrest of Robert.



                                             8
      Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 9 of 31




      65.      Deputy McDowell’s and Officer Shaw actions were willful, wanton,

unlawful, and in gross disregard of Robert’s constitutional rights, justifying an award

of punitive damages.

      66.      As a direct and proximate result of Deputy McDowell and Officer Shaw’s

illegal and unjustified conduct, Robert was injured and is entitled to recover for what

he has suffered in the past and will suffer in the future, including:

            a. Deprivation of his constitutional rights;

            b. Humiliation, degradation, public ridicule, loss of personal reputation,
               and emotional distress;

            c. Loss of income and earning capacity

            d. Consequential damages;

            e. Actual and compensatory damages, including but not limited to the
               expense of defending themselves against resulting criminal charges;

            f. Punitive damages;

            g. All expenses associated with the prosecution of the instant action,
               including, but not limited to, court costs, anticipated discovery expenses,
               anticipated expert expenses, and the maximum legally allowable
               judgment interest; and,

            h. Other damages as allowed by law.

      WHEREFORE, Plaintiff prays for judgment against Deputy Jeremy

McDowell and Officer Derek Shaw as follows:

            a. Actual, Compensatory, Consequential, and all other allowable damages
               against Defendants in an amount as yet to be determined;

            b. Compensation for violation of Robert’s constitutional rights, loss of
               income and earning capacity, humiliation, degradation, public ridicule,
               loss of personal and professional reputation, and emotional distress;

            c. Costs in this action, including but not limited to reasonable attorney’s
                                             9
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 10 of 31




                fees and costs pursuant to 42 U.S.C. §1988;

             d. Punitive damages; and,

             e. Such relief as the Court deems just and equitable.

                                     Count II
       VIOLATION OF ARTICLE I, SECTION EIGHT OF THE IOWA CONSTITUTION
                Right to be Free from Arrest without Probable Cause
               (Against Jeremy McDowell and Derek Shaw, individually)

       67.      Plaintiff repleads each preceding paragraph as if fully set forth herein.

       68.      At all times material hereto, Jeremy McDowell’s actions and/or

omissions were made under the color of authority and law as an officer of the Wapello

County Sheriff’s Department.

       69.      At all times material hereto, Derek Shaw’s actions and/or omissions

were made under the color of authority and law as an officer of the Ottumwa Police

Department.

       70.      On Jun 12, 2019, Deputy McDowell and Officer Shaw violated Robert’s

clearly established constitutional rights by arresting Robert without probable cause

to believe a criminal offense had been committed.

       71.      Based upon the facts known to Deputy McDowell and Officer Shaw, no

reasonable officer could believe probable cause existed to arrest Robert.

       72.      There was no warrant for Robert’s arrest.

       73.      Deputy McDowell and Officer Shaw violated Robert’s rights under

Article I, §8 of the Iowa Constitution to be free from unlawful arrest.




                                             10
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 11 of 31




      74.      Deputy McDowell and Officer Shaw demonstrated a deliberate

indifference to and a reckless disregard of Robert’s constitutional rights in his

unlawful arrest of Robert.

      75.      Deputy McDowell and Officer Shaw’s actions were willful, wanton,

unlawful, and in gross disregard of Robert’s constitutional rights, justifying an award

of punitive damages.

      76.      Robert requests reasonable attorney fees and costs associated with

prosecuting this action as Deputy McDowell and Officer Shaw’s violation of his

constitutional rights was oppressive, conniving, harsh, cruel, and/or tyrannical.

      77.      As a direct and proximate result of Deputy McDowell and Officer Shaw’s

illegal and unjustified conduct, Robert was injured and is entitled to recover for what

he has suffered in the past and will suffer in the future, including:

            a. Deprivation of his constitutional rights;

            b. Humiliation, degradation, public ridicule, loss of personal reputation,
               and emotional distress;

            c. Loss of income and earning capacity

            d. Consequential damages;

            e. Actual and compensatory damages, including but not limited to the
               expense of defending themselves against resulting criminal charges;

            f. Punitive damages;

            g. All expenses associated with the prosecution of the instant action,
               including, but not limited to, court costs, anticipated discovery expenses,
               anticipated expert expenses, and the maximum legally allowable
               judgment interest; and,

            h. Other damages as allowed by law.

                                            11
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 12 of 31




      WHEREFORE, Plaintiff prays for judgment against Deputy Jeremy

McDowell and Officer Derek Shaw as follows:

            a. Actual, Compensatory, Consequential, and all other allowable damages
               against Defendants in an amount as yet to be determined;

            b. Compensation for violation of their constitutional rights, loss of income
               and earning capacity, humiliation, degradation, public ridicule, loss of
               personal and professional reputation, and emotional distress;

            c. Costs in this action, including but not limited to reasonable attorney’s
               fees and costs at common law;

            d. Punitive damages; and,

            e. Such relief as the Court deems just and equitable.

                                Count III
           CIVIL RIGHTS VIOLATION PURSUANT TO 42 U.S.C. § 1983
  VIOLATION OF FOURTH AND/OR FOURTEENTH AMENDMENT TO THE UNITED
                           STATES CONSTITUTION
                  Right to be Free from Excessive Force
(Against Jeremy McDowell, Derek Shaw, John Doe 1, John Doe 2, and John
                           Doe 3, individually)

      78.      Plaintiff repleads each preceding paragraph as if fully set forth herein.

      79.      Jeremy McDowell, Derek Shaw, John Doe 1, John Doe 2, and John Doe

3 are persons for purposes of a Section 1983 action for damages.

      80.      At all times material hereto, the actions and/or omissions of Jeremy

McDowell, John Doe 1, and John Doe 3 were made under the color of authority and

law as officers of the Wapello County Sheriff’s Department.

      81.      At all times material hereto, the actions and/or omissions of Derek Shaw

and John Doe 2 were made under the color of authority and law as officers of the

Ottumwa Police Department.



                                           12
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 13 of 31




      82.      On or about June 12, 2019, Deputy McDowell, Officer Shaw, John Doe

1, John Doe 2, and John Doe 3 violated Robert’s constitutional rights by using

excessive force in Robert’s arrest.

      83.      Deputy McDowell, Officer Shaw, John Doe 1, John Doe 2, and John Doe

3 violated Robert’s Fourth and/or Fourteenth Amendment Right under the United

States Constitution to be free from excessive force.

      84.      The use of force Deputy McDowell, Officer Shaw, John Doe 1, John Doe

2, and John Doe 3 employed while confronting Robert was excessive, unreasonable,

and unnecessary under the circumstances.

      85.      Deputy McDowell, Officer Shaw, John Doe 1, John Doe 2, and John Doe

3 demonstrated a deliberate indifference to and a reckless disregard of Robert’s

constitutional rights by his use of force against Robert.

      86.      The actions of Deputy McDowell, Officer Shaw, John Doe 1, John Doe 2,

and John Doe 3 were willful, wanton, unlawful, and in gross disregard of Robert’s

civil rights, justifying an award of punitive damages.

      87.      As a direct and proximate result of the illegal and unjustified conduct of

Deputy McDowell, Officer Shaw, John Doe 1, John Doe 2, and John Doe 3, Robert

was injured and is entitled to recover for what he has suffered in the past and will

suffer in the future, including:

            a. Deprivation of his constitutional rights;

            b. Physical and mental pain and suffering;

            c. Humiliation, degradation, public ridicule, loss of personal reputation,
               and emotional distress;

                                            13
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 14 of 31




            d. Loss of income and earning capacity

            e. Consequential damages;

            f. Actual and compensatory damages;

            g. Punitive damages;

            h. All expenses associated with the prosecution of the instant action,
               including, but not limited to, court costs, anticipated discovery expenses,
               anticipated expert expenses, and the maximum legally allowable
               judgment interest; and,

            i. Other damages as allowed by law.

      WHEREFORE, Plaintiff prays for judgment against Deputy Jeremy

McDowell, Deputy McDowell, Officer Derek Shaw, John Doe 1, John Doe 2, and John

Doe 3 as follows:

            a. Actual, Compensatory, Consequential, and all other allowable damages
               against Defendants in an amount as yet to be determined;

            b. Compensation for violation of their constitutional rights, loss of income
               and earning capacity; humiliation, degradation, public ridicule, loss of
               personal and professional reputation;

            c. Pain and suffering, both past and future;

            d. Costs in this action, including but not limited to reasonable attorney’s
               fees and costs pursuant to 42 U.S.C. §1988;

            e. Punitive damages; and,

            f. Such relief as the Court deems just and equitable.

                                     Count IV
      VIOLATION OF ARTICLE I, SECTION EIGHT OF THE IOWA CONSTITUTION
                       Right to be Free from Excessive Force
    (Against Jeremy McDowell, Derek Shaw, John Doe 1, John Doe 2, and John Doe 3,
                                    individually)

      88.      Plaintiff repleads each preceding paragraph as if fully set forth herein.


                                            14
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 15 of 31




      89.    At all times material hereto, the actions and/or omissions of Jeremy

McDowell, John Doe 1, and John Doe 3 were made under the color of authority and

law as officers of the Wapello County Sheriff’s Department.

      90.    At all times material hereto, the actions and/or omissions of Derek Shaw

and John Doe 2 were made under the color of authority and law as officers of the

Ottumwa Police Department.

      91.    On June 12, 2019, Deputy McDowell, Officer Shaw, John Doe 1, John

Doe 2, and John Doe 3 violated Robert’s clearly established constitutional rights by

using excessive force in Robert’s arrest.

      92.    Deputy McDowell, Officer Shaw, John Doe 1, John Doe 2, and John Doe

3 violated Robert’s rights under Article I, §8 of the Iowa Constitution to be free from

excessive force.

      93.    The use of force Deputy McDowell, Officer Shaw, John Doe 1, John Doe

2, and John Doe 3 employed while confronting Robert was excessive, unreasonable,

and unnecessary under the circumstances.

      94.    Deputy McDowell, Officer Shaw, John Doe 1, John Doe 2, and John Doe

3 demonstrated a deliberate indifference to and a reckless disregard of Robert’s

constitutional rights by his use of force against Robert.

      95.    The actions of Deputy McDowell, Officer Shaw, John Doe 1, John Doe 2,

and John Doe 3 were willful, wanton, unlawful, and in gross disregard of Robert’s

constitutional rights, justifying an award of punitive damages.

      96.    Robert requests reasonable attorney fees and costs associated with

prosecuting this action as Deputy McDowell, Officer Shaw, John Doe 1, John Doe 2,
                                            15
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 16 of 31




and John Doe 3’s violation of his constitutional rights was oppressive, conniving,

harsh, cruel, and/or tyrannical.

      97.      As a direct and proximate result of Deputy McDowell, Officer Shaw,

John Doe 1, John Doe 2, and John Doe 3’s illegal and unjustified conduct, Robert was

injured and is entitled to recover for what he has suffered in the past and will suffer

in the future, including:

            a. Deprivation of his constitutional rights;

            b. Physical and mental pain and suffering;

            c. Humiliation, degradation, public ridicule, loss of personal reputation,
               and emotional distress;

            d. Loss of income and earning capacity;

            e. Consequential damages;

            f. Actual and compensatory damages;

            g. Punitive damages;

            h. All expenses associated with the prosecution of the instant action,
               including, but not limited to, court costs, anticipated discovery expenses,
               anticipated expert expenses, and the maximum legally allowable
               judgment interest; and,

            i. Other damages as allowed by law.

      WHEREFORE, Plaintiff prays for judgment against the Deputy Jeremy

McDowell as follows:

            a. Actual, Compensatory, Consequential, and all other allowable damages
               against Defendants in an amount as yet to be determined;

            b. Compensation for violation of their constitutional rights, loss of income
               and earing capacity, humiliation, degradation, public ridicule, loss of
               personal and professional reputation;

                                            16
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 17 of 31




            c. Pain and suffering, both past and future;

            d. Costs in this action, including but not limited to reasonable attorney’s
               fees and costs at common law;

            e. Punitive damages; and,

            f. Such relief as the Court deems just and equitable.

                                 Count V
 CIVIL RIGHTS VIOLATION PURSUANT TO 42 U.S.C § 1983 VIOLATION OF FOURTH
    AMENDMENT AND/OR FOURTEENTH AMENDMENT TO THE UNITED STATES
                              CONSTITUTION
           Monell Liability for Arrest without Probable Cause
(Against Don Phillips and Chad Farrington, individually, Wapello County,
                    Iowa and City of Ottumwa, Iowa)

      98.      Plaintiff repleads each preceding paragraph as if fully set forth herein.

      99.      Don Phillips, Wapello County, Chad Farrington, and City of Ottumwa

are persons for purposes of a Section 1983 action for damages.

      100.     At all times material hereto, Don Phillips’ actions and/or omissions were

made under the color of authority as Sheriff for Wapello County.

      101.     As Sheriff, Sheriff Phillips is responsible for supervising and training

the law enforcement officers of the Wapello County Sheriff’s Office, as well as

implementing and enforcing Wapello County’s policies.

      102.     At all times material hereto, Chad Farrington’s actions and/or omissions

were made under the color of authority as Chief of the Ottumwa Police Department.

      103.     As Chief of Police, Chief Farrington is responsible for supervising and

training the law enforcement officers of the Ottumwa Police Department, as well as

implementing and enforcing the City of Ottumwa’s policies.




                                           17
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 18 of 31




      104.   Sheriff Phillips and Wapello County failed to establish and/or maintain,

and/or enforce official county policies, patterns, practices, or customs for determining

when probable cause exists to make an arrest for public intoxication or public

consumption of alcohol.

      105.   Chief Farrington and City of Ottumwa failed to establish and/or

maintain, and/or enforce official city policies, patterns, practices, or customs for

determining when probable cause exists to make an arrest for public intoxication or

public consumption of alcohol.

      106.   Prior to the events described supra, Sheriff Phillips, Wapello County,

Chief Farrington, and City of Ottumwa deliberately and with reckless disregard for

the constitutional rights of their citizens failed to establish an adequate and sufficient

policy and procedure for training or supervising officers within the respective

departments relating to when probable cause exists to make an arrest for public

intoxication or public consumption of alcohol.

      107.   Sheriff Phillips, Wapello County, Chief Farrington, and City of

Ottumwa deliberately and with reckless disregard for the constitutional rights of the

people existing within their jurisdictions failed to adequately and sufficiently train

and/or supervise officers within their departments regarding when probable cause

exists to make an arrest for public intoxication or public consumption of alcohol.

      108.   The customs and practices of Sheriff Phillips, Wapello County, Chief

Farrington, and City of Ottumwa were ones which involved the failure to initiate

policies to ensure arrest are performed only where a warrant was issued or where

probable cause exists to believe a criminal offense has been committed.
                                           18
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 19 of 31




      109.   The acts and/or omissions of Sheriff Phillips, Wapello County, Chief

Farrington, and City of Ottumwa regarding law enforcement and citizen interactions

amounted to deliberate indifference to the rights and safety of citizens, including

Robert.

      110.   The actions and/or omissions of Sheriff Phillips, Wapello County, Chief

Farrington, and City of Ottumwa intruded upon Robert’s right to be free from arrest

in the absence of probable cause.

      111.   The failure of Sheriff Phillips, Wapello County, Chief Farrington, and

City of Ottumwa to implement effective policies, patterns, practices, and/or customs

was a moving force behind, and effectively caused Deputy McDowell and Officer Shaw

to violate Robert’s constitutional rights.

      112.   Sheriff Phillips and Chief Farrington’s actions were willful, wanton,

unlawful, and in gross disregard of Robert’s civil rights, justifying an award of

punitive damages.

      113.   As a direct and proximate result of Deputy McDowell and Officer Shaw’s

illegal and unjustified conduct, Robert was injured and is entitled to recover for what

he has suffered in the past and will suffer in the future, including:

          a. Deprivation of his constitutional rights;

          b. Humiliation, degradation, public ridicule, loss of personal reputation,
             and emotional distress;

          c. Loss of income and earning capacity

          d. Consequential damages;

          e. Actual and compensatory damages, including but not limited to the
             expense of defending themselves against resulting criminal charges;
                                             19
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 20 of 31




         f. Punitive damages as to Sheriff Phillips and Chief Farrington;

         g. All expenses associated with the prosecution of the instant action,
            including, but not limited to, court costs, anticipated discovery expenses,
            anticipated expert expenses, and the maximum legally allowable
            judgment interest; and,

         h. Other damages as allowed by law.

      WHEREFORE, Plaintiff prays for judgment against Don Phillips, Wapello

County, Chad Farrington, and City of Ottumwa as follows:

         a. Actual, Compensatory, Consequential, and all other allowable damages
            against Defendants in an amount as yet to be determined;

         b. Compensation for violation of Robert’s constitutional rights, loss of
            income and earning capacity, humiliation, degradation, public ridicule,
            loss of personal and professional reputation, and emotional distress;

         c. Costs in this action, including but not limited to reasonable attorney’s
            fees and costs pursuant to 42 U.S.C. §1988;

         d. Punitive damages as to Sheriff Phillips and Chief Farrington; and,

         e. Such relief as the Court deems just and equitable.

                                Count VI
 CIVIL RIGHTS VIOLATION PURSUANT TO 42 U.S.C § 1983 VIOLATION OF FOURTH
    AMENDMENT AND/OR FOURTEENTH AMENDMENT TO THE UNITED STATES
                             CONSTITUTION
                   Monell Liability for Excessive Force
(Against Don Phillips and Chad Farrington, individually, Wapello County,
                    Iowa and City of Ottumwa, Iowa)

      114.   Plaintiff repleads each preceding paragraph as if fully set forth herein.

      115.   Don Phillips, Wapello County, Chad Farrington, and City of Ottumwa

are persons for purposes of a Section 1983 action for damages.

      116.   At all times material hereto, Don Phillips’ actions and/or omissions were

made under the color of authority as Sheriff for Wapello County.
                                         20
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 21 of 31




      117.   As Sheriff, Sheriff Phillips is responsible for supervising and training

the law enforcement officers of the Wapello County Sheriff’s Office, as well as

implementing and enforcing Wapello County’s policies.

      118.   At all times material hereto, Chad Farrington’s actions and/or omissions

were made under the color of authority as Chief of the Ottumwa Police Department.

      119.   As Chief of Police, Chief Farrington is responsible for supervising and

training the law enforcement officers of the Ottumwa Police Department, as well as

implementing and enforcing the City of Ottumwa’s policies.

      120.   Sheriff Phillips and Wapello County failed to establish and/or maintain,

and/or enforce official county policies, patterns, practices, or customs concerning

when and to what degree force is to be used in effectuating an arrest.

      121.   Chief Farrington and City of Ottumwa failed to establish and/or

maintain, and/or enforce official city policies, patterns, practices, or customs for

determining when and to what degree force is to be used in effectuating an arrest.

      122.   Prior to the events described supra, Sheriff Phillips, Wapello County,

Chief Farrington, and City of Ottumwa deliberately and with reckless disregard for

the constitutional rights of their citizens failed to establish an adequate and sufficient

policy and procedure for training or supervising officers within the respective

departments relating to when and to what degree force is to be used in effectuating

an arrest.

      123.   Sheriff Phillips, Wapello County, Chief Farrington, and City of

Ottumwa deliberately and with reckless disregard for the constitutional rights of the

people existing within their jurisdictions failed to adequately and sufficiently train
                                           21
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 22 of 31




and/or supervise officers within their departments regarding when and to what

degree force is to be used in effectuating an arrest.

      124.   The customs and practices of Sheriff Phillips, Wapello County, Chief

Farrington, and City of Ottumwa were ones which involved the failure to initiate

policies to ensure force is not used against a compliant and non-fleeing person when

arresting or booking an individual for a non-violent simple misdemeanor.

      125.   The acts and/or omissions of Sheriff Phillips, Wapello County, Chief

Farrington, and City of Ottumwa regarding law enforcement and citizen interactions

amounted to deliberate indifference to the rights and safety of citizens, including

Robert.

      126.   The actions and/or omissions of Sheriff Phillips, Wapello County, Chief

Farrington, and City of Ottumwa intruded upon Robert’s right to be free from arrest

in the absence of probable cause.

      127.   The failure of Sheriff Phillips, Wapello County, Chief Farrington, and

City of Ottumwa to implement effective policies, patterns, practices, and/or customs

was a moving force behind, and effectively caused, Deputy McDowell, Officer Shaw,

John Doe 1, John Doe 2, and John Doe 3 to violate Robert’s constitutional rights.

      128.   Sheriff Phillips and Chief Farrington’s actions were willful, wanton,

unlawful, and in gross disregard of Robert’s civil rights, justifying an award of

punitive damages.

      129.   As a direct and proximate result of Deputy McDowell and Officer Shaw’s

illegal and unjustified conduct, Robert was injured and is entitled to recover for what

he has suffered in the past and will suffer in the future, including:
                                           22
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 23 of 31




         a. Deprivation of his constitutional rights;

         b. Humiliation, degradation, public ridicule, loss of personal reputation,
            and emotional distress;

         c. Loss of income and earning capacity

         d. Consequential damages;

         e. Actual and compensatory damages, including but not limited to the
            expense of defending themselves against resulting criminal charges;

         f. Punitive damages as to Sheriff Phillips and Chief Farrington;

         g. All expenses associated with the prosecution of the instant action,
            including, but not limited to, court costs, anticipated discovery expenses,
            anticipated expert expenses, and the maximum legally allowable
            judgment interest; and,

         h. Other damages as allowed by law.

      WHEREFORE, Plaintiff prays for judgment against Don Phillips, Wapello

County, Chad Farrington, and City of Ottumwa as follows:

         a. Actual, Compensatory, Consequential, and all other allowable damages
            against Defendants in an amount as yet to be determined;

         b. Compensation for violation of Robert’s constitutional rights, loss of
            income and earning capacity, humiliation, degradation, public ridicule,
            loss of personal and professional reputation, and emotional distress;

         c. Costs in this action, including but not limited to reasonable attorney’s
            fees and costs pursuant to 42 U.S.C. §1988;

         d. Punitive damages as to Sheriff Phillips and Chief Farrington; and,

         e. Such relief as the Court deems just and equitable.

                               Count VII
                       MALICIOUS PROSECUTION
   (Against Jeremy McDowell, individually and in his official capacity)

      130.   Plaintiff repleads each preceding paragraph as if fully set forth herein.

                                         23
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 24 of 31




      131.      Robert was prosecuted in a criminal proceeding in State v. VanDyke,

Wapello County Case No. SMSM0427278, beginning on or about June 12, 2019.

      132.      Deputy McDowell caused this prosecution by preparing and filing a

criminal complaint against Robert.

      133.      The prosecution ended favorably for Robert, with the charge dismissed

against him on the State’s motion and in the interest of justice, with all costs charged

to the State.

      134.      Deputy McDowell acted without probable cause.

      135.      Based upon the facts known to Deputy McDowell, no reasonable officer

could believe probable cause existed to charge Robert with a criminal offense.

      136.      Deputy McDowell acted with malice.

      137.      The prosecution was a cause of damages to Robert, including incurring

attorney fees and costs associated with defending against the criminal charge.

      138.      Deputy McDowell’s actions were willful, wanton, unlawful, and in gross

disregard of Robert’s rights and reputation justifying an award of punitive damages.

      139.      Robert hereby requests reasonable attorney fees and costs associated

with prosecuting this action as Deputy McDowell’s behavior was oppressive,

conniving, harsh, cruel, and or tyrannical.

      WHEREFORE, Plaintiff prays for judgment against Jeremy McDowell in an

amount which will fully and fairly compensate him for his mental and emotional

injuries and damages, loss of income and earning capacity, compensatory and

punitive damages, for attorney fees, for interest and costs as allowed by law, and such

other relief as may be just under the circumstances.
                                           24
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 25 of 31




                               Count VIII
                             FALSE ARREST
   (Against Jeremy McDowell and Derek Shaw, individually and in their
                           official capacity)

      140.   Plaintiff repleads each preceding paragraph as if fully set forth herein.

      141.   On June 12, 2019, Robert was detained and restrained against his will.

      142.   Robert’s detention and restraint was done by Deputy McDowell and

Officer Shaw.

      143.   The detention and restraint by Deputy McDowell and Officer Shaw was

a cause of Robert’s damages, including incurring attorney fees and costs associated

with defending against the criminal charge.

      144.   Deputy McDowell and Officer Shaw’s detention and restraint of Robert

was without probable cause.

      145.   Based upon the facts known to Deputy McDowell and Officer Shaw, no

reasonable officer could believe probable cause existed to arrest Robert.

      146.   Deputy McDowell and Officer Shaw’s acted with malice in the detention

and restraint of Robert.

      147.   Deputy McDowell and Officer Shaw’s actions were willful, wanton,

unlawful, and in gross disregard of Robert’s rights and reputation, justifying an

award of punitive damages.

      148.   Robert hereby requests reasonable attorney fees and costs associated

with prosecuting this action as Deputy McDowell and Officer Shaw’s behavior was

oppressive, conniving, harsh, cruel, and or tyrannical.




                                         25
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 26 of 31




      WHEREFORE, Plaintiff prays for judgment against Jeremy McDowell and

Derek Shaw in an amount which will fully and fairly compensate him for his mental

and emotional injuries and damages, loss of income and earning capacity,

compensatory and punitive damages, for attorney fees, for interest and costs as

allowed by law, and such other relief as may be just under the circumstances.

                               Count IX
                               BATTERY
(Against Jeremy McDowell, Derek Shaw, and John Doe 2, individually and
                      in their official capacity)

      149.   Plaintiff repleads each preceding paragraph as if fully set forth herein.

      150.   Deputy McDowell and Officer Shaw jerked and twisted Robert’s left

arm, knowing this arm was disabled and had a limited range of motion, behind his

back and put Robert in handcuffs.

      151.   John Doe 2 intentionally shoved Robert into a concrete half-wall while

Robert was still handcuffed in response to a verbal statement by Robert.

      152.   These acts were done with the intent to cause physical pain or injury

and/or insulting or offensive bodily contact.

      153.   The acts of Deputy McDowell, Officer Shaw, and John Doe 2 resulted in

physical pain and injury, as well as insulting and offensive bodily contact.

      154.   The acts of Deputy McDowell, Officer Shaw, and John Doe 2 were a

cause of Robert’s damages.

      155.   The actions of Deputy McDowell, Officer Shaw, and John Doe 2 were

willful, wanton, unlawful, and in gross disregard of Robert’s rights and reputation,

justifying an award of punitive damages.

                                           26
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 27 of 31




      156.   Robert hereby requests reasonable attorney fees and costs associated

with prosecuting this action as Deputy McDowell, Officer Shaw, and John Doe 2’s

behavior was oppressive, conniving, harsh, cruel, and or tyrannical.

      WHEREFORE, Plaintiff prays for judgment against Jeremy McDowell, Derek

Shaw, and John Doe 2 in an amount which will fully and fairly compensate him for

his mental and emotional injuries and damages, loss of income and earning capacity,

compensatory and punitive damages, for attorney fees, for interest and costs as

allowed by law, and such other relief as may be just under the circumstances.

                                  Count X
                                 ASSAULT
    (Against Jeremy McDowell, Derek Shaw, John Doe 1 and John Doe 3,
                 individually and in their official capacity)

      157.   Plaintiff repleads each preceding paragraph as if fully set forth herein.

      158.   Deputy McDowell, Officer Shaw, John Doe 1, and John Doe 3 pointed

firearms at Robert while he was compliant and visibly unarmed.

      159.   These acts were done with the intent to cause Robert to fear physical

pain or injury.

      160.   Robert reasonably believed an act causing physical pain or injury would

be carried out immediately.

      161.   The acts of Deputy McDowell, Officer Shaw, John Doe 1, and John Doe

3 were a cause of Robert’s damages.

      162.   The actions of Deputy McDowell, Officer Shaw, John Doe 1, and John

Doe 3 were willful, wanton, unlawful, and in gross disregard of Robert’s rights and

reputation, justifying an award of punitive damages.

                                         27
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 28 of 31




      163.   Robert hereby requests reasonable attorney fees and costs associated

with prosecuting this action as Deputy McDowell, Officer Shaw, John Doe 1, and John

Doe 3’s behavior was oppressive, conniving, harsh, cruel, and or tyrannical.

      WHEREFORE, Plaintiff prays for judgment against Jeremy McDowell, Derek

Shaw, John Doe 1, and John Doe 3 in an amount which will fully and fairly

compensate him for his mental and emotional injuries and damages, loss of income

and earning capacity, compensatory and punitive damages, for attorney fees, for

interest and costs as allowed by law, and such other relief as may be just under the

circumstances.

                                     Count XI
                  NEGLIGENT SUPERVISION AND TRAINING
    (Against Don Phillips, Chad Farrington, Wapello County, Iowa, and
                          City of Ottumwa, Iowa)

      164.   Plaintiff repleads each preceding paragraph as if fully set forth herein.

      165.   Sheriff Phillips and Wapello County were the supervising officer and/or

employer of Deputy McDowell, John Doe 1, and John Doe 2.

      166.   Chief Farrington and City of Ottumwa were the supervising officer

and/or employer of Officer Shaw and John Doe 3.

      167.   As the supervising officers and/or employers, Defendants have a duty to

exercise reasonable care in the hiring, retention and supervision of individuals who,

because of their employment, may pose a threat of injury to members of the public.

      168.   Defendants breached their duty in the negligent and reckless

supervision and training of Deputy McDowell, Officer Shaw, John Doe 1, John Doe 2,

and John Doe 3 as it relates to their making false arrests, initiating malicious

                                         28
      Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 29 of 31




prosecutions, and committing assault and/or battery in their roles as law enforcement

officers.

       169.    Defendants knew, or in the exercise of ordinary care should have known,

of the incompetence, unfitness, and dangerous characteristics of Deputy McDowell,

Officer Shaw, John Doe 1, John Doe 2, and John Doe 3.

       170.    The incompetence, unfitness, and dangerous characteristics of Deputy

McDowell, Officer Shaw, John Doe 1, John Doe 2, and John Doe 3 were a cause of

damage to Robert.

       171.    These Defendants’ negligence was a proximate cause of Robert’s

injuries.

       WHEREFORE, Plaintiff prays for judgment against Don Phillips, Chad

Farrington, Wapello County, Iowa, and City of Ottumwa, Iowa in an amount which

will fully and fairly compensate him for his mental and emotional injuries and

damages, loss of income and earning capacity, compensatory and punitive damages,

for attorney fees, for interest and costs as allowed by law, and such other relief as

may be just under the circumstances.

                                   Count XII
                              RESPONDEAT SUPERIOR
            (Against Wapello County, Iowa, and City of Ottumwa, Iowa)

       172.    Plaintiff repleads each preceding paragraph as if fully set forth herein.

       173.    At all times material hereto, an employer-employee relationship existed

between Wapello County, as the employer, and Deputy McDowell, John Doe 1, and

John Doe 2 as the employees.



                                           29
     Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 30 of 31




       174.   At all times material hereto, an employer-employee relationship existed

between the City of Ottumwa, as the employer, and Officer Shaw and John Doe 3 as

the employees.

       175.   At all times material hereto, Deputy McDowell, John Doe 1, and John

Doe 2 were acting within the scope of their employment with Wapello County.

       176.   At all times material hereto, Officer Shaw and John Doe 3 were acting

within the scope of their employment with the City of Ottumwa.

       177.   Under the doctrine of respondeat superior, Wapello County and City of

Ottumwa are liable for the aforementioned conduct and/or omissions of these

employees.

       178.   As a result of the conduct and/or omissions of Wapello County and City

of Ottumwa, Robert sustained damages and injuries as previously set forth in this

Petition.

       WHEREFORE, Plaintiff prays for judgment against Wapello County, Iowa,

and City of Ottumwa, Iowa in an amount which will fully and fairly compensate him

for his mental and emotional injuries and damages, loss of income and earning

capacity, compensatory and punitive damages, for attorney fees, for interest and costs

as allowed by law, and such other relief as may be just under the circumstances.

                                   JURY DEMAND

       Plaintiff hereby demands a trial by jury in this matter on all counts to which

Plaintiff is entitled to a jury.




                                         30
Case 4:21-cv-00160-RGE-SBJ Document 1 Filed 06/01/21 Page 31 of 31




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                               31
